Case 1:19-cv-12235-LTS Document 208-10 Filed 07/14/21 Pagelof2

EXHIBIT 10
Joseph M.Mantha Case 1:19-cv-12235-LTS Document 208-10 Filed 07/14/21 Page2of2
Employee

Cantact Information
Phone & Email

Home Phone Work Phone Extension Pager Number
| et i| | cw

| E2690

Mobile Phane Work Fax LinkedIn URL
(AEE) BEET Aste | i (HR) HH AHH | i http:/www.linkedin.convimyurl

Home Emait Work Email Twitter URL

a - om oe nN
| you@yourdomain.com | imantha@perkinschooLorg | Atlpv/Awawe, bwitler.comimyurl

Legal Address Emergency Contacts

Address Line 1*
